A petition is presented in this case for a writ of habeas corpus directed by A.V. Skelton, warden of the Oklahoma State Reformatory at Granite, for the discharge of Arthur Givens. The petition alleges in substance, that petitioner is held under a commitment issued pursuant to and in execution of a judgment of the district court of Oklahoma county, rendered on or about the 15th day of July, 1914, wherein petitioner was adjudged guilty of the crime of obtaining property under false pretenses, and was sentenced to be imprisoned for a term of eighteen months. That during his imprisonment, and on the 30th day of September, 1914, Hon. J.J. McAlester, Lieutenant Governor, as Acting Governor, in the absence of the Governor from the state, issued a full unconditional pardon for said crime of which he was convicted. That this pardon was presented to A.V. Skelton, warden of the Oklahoma state reformatory, who declines and refuses to honor same and still declines and refuses to release petitioner from custody. A duplicate of said pardon is attached to the petition.
Upon the authority of State v. Stewart, ante, the pardon herein is a valid and effectual pardon. For the reasons stated in the opinion in the Stewart case, we are of opinion that the petitioner is entitled to his discharge, and it is so ordered.